  Case 3:19-cv-00065-GEC Document 20 Filed 01/07/20 Page 1 of 2 Pageid#: 349
                                                                          ctE- s OFFICE U .S.DIST.Cœ r
                                                                                AT RM NOKE,VA
                                                                                     FILED

                        IN THE UNITED STATES DISTRICT COURT                      JA8 2 ?2922
                       FOR THE W ESTERN DISTRICT OF VIRGINIA                  JUL C UDLEY C ERK
                             CH AR I,OTTESV ILLE D IV ISION                  BY:
                                                                                           L
 QUEEN oF VIRGINIA SKILL &
 ENTERTAm M ENT,LLc ,PoM oy
 V IR()m IA ,LL c ,and M IELE
 M AN U FA CTU RJN G ,lx c .,
                                                          CivilA ction N o.3:19CV 00065
        Plaintiffs,


                                                          By:Hon.Glen E.Conrad
 JOSEPH D.PLATAN IA,inhisofficial                         SeniorUnited StatesDistrictJudge
 capacity asComm onwealth'sattom ey forthe
 City ofCharlottesville,

        Defendant.


       On June 28,2019,Plaintiffs filed suitagainstthe Defendantin the CircuitCourtforthe

City ofCharlottesville,Virginia,bringingclaim sarisingunderstatelaw,aswellastmder42U.S.C.

j1983andtheDueProcessClauseoftheFourteenthAmendment.ECFNo.1-2.Ot1October15,
2019,Defendantsremovedthatcasetù'thiscotut assertingfederalquestionjmisdictionunder28
U.S.C.j1331.ECFNo.1.
       On Decem ber4,2019,Plaintiffsliled an nm ended complaint,which no longercontained

claim sarising tmderfederalstatutesortheUnited StatesConstimtion. ECF No.9. On thesame

day,Plaintiffsfiledamotiontoremandthiscase,statingthatfederalquestionjmjsdictionnolonger
existed. ECF No.10. Defendanthas notopposed them otion to rem and,butsled a m otion to

dismissin which heagreesthatthePlaintiffs'nm ended complaintGdnolongercontainsclaim sunder

federallaw and instead assertsclaim sexclusively underV irginia law .''ECF N o.16 at2. On January

3,2020,Plaintiffsfiled anoticeadvising the courtthatal1partiesconsentedto subm ission ofthem otion

to rem and w ithouta hearing. ECF N o.19.
  Case 3:19-cv-00065-GEC Document 20 Filed 01/07/20 Page 2 of 2 Pageid#: 350




       SslW jhen an action hasbeenremoved from statecourtandthedistrictcourtsubsequently
losesitsbasisfororiginaljurisdiction,inmostinstancestheactionmustberemandedtothestate
court.'' Darcangelo v.Verizon Commc'ns.lnc.,292 F.3d 181,196 (4th Cir,2002)(citing 28
U.S.C.j1447(c)andRoachv.W .Va.RegionalJailandCoz'r.FacilityAuth.,74F.3d46(4thCir.
1996)). Here,bothpartiesagreethatPlaintiffs'claimsno longerariselmderfederal1aw orthe
UzlitedStatesConstitution.Thereis,therefore,nobasisforassertingfederalquestionjurisdiction
tmder28U.S.C.j1331.
      Forthesereasonsand hearing no opposition,itishereby

                                      O R D ERED

asfollows:

       1.    Plaintiffs' m otion to rem and, ECF No. 10, is GR ANTED , and this case is

             REM ANDED to theCircuitCourtfortheCity ofCharlottesville,Virginia;

      2.     Defendant's m otion to dism iss, ECF No. 15, is DENIED W ITH OUT

             PREJIjDîCE asmoot.
      TheClerk isdirected to send copiesofthisorderto a11counselofrecord.
                     '
       DATED :n isn 91 day ofJanuary, 2020

                                                      enlorU nited StatesD istrictJudge
